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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


STUDENT BORROWER PROTECTION
CENTER,

              Plaintiff,
                                                         Civil Action No. 23-1780 (JEB)
       v.

U.S. DEPARTMENT OF EDUCATION,

              Defendant.


                                   [PROPOSED] ORDER

      Upon consideration of the parties’ Joint Status Report, it is, this ___ day of

________________, 2024,

      ORDERED that the parties shall submit a joint status report by April 12, 2024.




                                                   UNITED STATES DISTRICT JUDGE
